         Case 3:16-cr-00034-LAB                       Document 84             Filed 06/20/16             PageID.279               Page 1 of 4

AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                           UNITED STATES DISTRICT COUR                                                             JUN 2 0 2016
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMIN
                                                                               (For Offenses Committed On oL.:r;:;A~e":::rN~ov-e-m"'l"b-er--;-1,-;1"A'96-c;...A';"""---
                                      V.
                 CESAR MENDOZA-GARCIA (4)
                                                                                  Case Number:           16CR00034-LAB

                                                                               JENNIFER COON
                                                                               Defendant's Attorney
REGISTRATION NO.                      51742298
       Correction ofSentcnce for Clcrial Mistake (Fed. R. Crim. P.36}


 IZI   pleaded guilty to count(s)            ONE OF THE SUPERSEDING INFORMA nON

 o
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
Title & Section                            Nature of Offense                                                                               Number(s)
21 USC 952, 960, 963 and                   CONSPIRACY TO IMPORT MARIJUANA                                                                     1
18 USC 2




     The defendant is sentenced as provided in pages 2 through                             4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZI    Count(s)       REMAINING COUNTS                                 are           dismissed on the motion of the United States.

        Assessment: $100.00 - WAIVED
 IZI


 IZI No fine                               Forfeiture pursuant to order filed                                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                               HON. LARRY ALAN BURNS
                                                                               UNITED STATES DISTRICT nJDGE




                                                                                                                                       16CR00034-LAB
        Case 3:16-cr-00034-LAB           Document 84        Filed 06/20/16        PageID.280      Page 2 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                  CESAR MENDOZA-GARCIA (4)                                               Judgment - Page 2 of 4
CASE NUMBER:                16CR00034-LAB

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 12 MONTHS AND ONE DAY




 D       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IXl     The court makes the following recommendations to the Bureau of Prisons:
         SOUTHERN CALIFORNIA DESIGNATION




         The defendant is remanded to the custody of the United States Marshal.

 D       The defendant shall surrender to the United States Marshal for this district:
         D     at _ _ _ _ _ _ _ _ A.M.                        on
         D     as notified by the United States Marshal.
                                                                   -------------------------------------
         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
         Prisons:
         D     on or before
         D     as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                            to
                                                                                -------------------------------
 at
       ------------------------ , with a certified copy of this judgment.

                                                                 UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      16CR00034-LAB
             Case 3:16-cr-00034-LAB                  Document 84             Filed 06/20/16            PageID.281            Page 3 of 4

    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   CESAR MENDOZA-GARCIA (4)                                                                     Judgment - Page 3 of 4
    CASE NUMBER:                 16CR00034-LAB

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pcrmission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase. possess. use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) thc defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony.
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a spccial agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defcndant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                  16CR00034-LAB
      Case 3:16-cr-00034-LAB          Document 84       Filed 06/20/16   PageID.282   Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              CESAR MENDOZA-GARCIA (4)                                      Judgment - Page 4 of 4
CASE NUMBER:            16CR00034-LAB

                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Not reenter the United States illegally.

II




                                                                                        16CR00034-LAB
